Case 1:05-cr-10005-.]DT Document 29 Filed 04/26/05 Page 1 of 5 Page|D 27

      
 

IN THE UNITED STATES DIS'I'RICT COUR'I'
FOR THE WESTERN DISTRICT Ol"" 'I‘ENNESSEE
EASTERN DIVISION

 

UNITED STA'I‘ES OF AMERICA,
Plaintiff,
vs. Cr. No. 05 lOOOB~T

ROLAND HAYER ,

Defendant.

 

MOTION TO EXCUSE THE DEFENDAN FROM
A PERSONAL APPEARANCE AT ORT
AND SUBMISSION OF HOSPITAL CORDS

 

COMES NOW the defendant herein, RO HAYER, by and through
appointed counsel, and moves this Ho orable Court to excuse the
defendant’s appearance at his rep t date on April 21, 2005. In
support whereof, defendant herew` h submits photocopies of hospital
discharge papers, attached, from Jackson-Madison County General
Hospital, showing that t e defendant was admitted on Sunday, April
17, 2005, and disch ged on Tuesday, April 19, 1005. Defendant was
too ill to repo t to the Court personally on April 21, 2005, and

respectfull begs the Court to excuse his personal appearance.

MoTloN GRA TEQ

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Respectfully submitted,

M

AP§IE R. coons

Assistant Federal Defender

200 Jefferson Avenue, Suite 200
Memphis, TN 38103

(901) 544-3895

CERTIFICATE OF SERVIC‘E
This is to certify that a copy of the foregoing Motion to
Excuse the Defendant from a Personal Appearance at Report and
Submissidn of Hospital Records has been forwarded to James W.
Powell, Esq., Assistant U.S. Attorney, 109 S. Highland Avenue, 3rd
Floor, Jackson, TN 38301, this I-day of April, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 1:05-CR-10005 Was distributed by faX, mail, or direct printing on
April 29, 2005 to the parties listed.

 

 

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

